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4

5    Attorney for Defendant KEOUN SAN
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7

8                                     UNITED STATES DISTRICT COURT

9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           ) Case No.: 1:06‐CR‐00313
11                                                       )
                         Plaintiff,                      ) STIPULATION TO CONTINUE SENTENCING
12
            vs.                                          ) HEARING; ORDER
13                                                       )
     KEOUN SAN,                                          ) Sentencing Date: March 26, 2010
14                                                       ) Time: 9:00 am
                       Defendant.                        ) Dept.: Honorable Judge O’Neil
15                                                       )

16
            IT IS HEREBY STIPULATED by and between the parties hereto, and through their
17
     respective attorneys of record, that the sentencing hearing in the above captioned matter
18
     now set for March 26, 2010 at 9:00 am, may be continued to May 7, 2010.
19
            The continuance is requested by counsel for Defendant, KOUEN SAN to allow
20
     additional time for Defendants cousin Peter San to travel from Tennessee to Fresno to care
21
     for Defendants elderly father.
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                                      Stipulation to Continue Sentencing Hearing
             Case 1:06-cr-00313-DAD Document 411 Filed 03/15/10 Page 2 of 2


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2
     DATED: March 11, 2010                       Respectfully Submitted,
3
                                                 DANIEL L. HARRALSON LAW CORPORATION
4

5
                                                    /s/ daniel harralson
6                                                DANIEL L. HARRALSON
                                                 Attorney for Defendant
7

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9
     DATED: March 11, 2010                       UNITED STATES ATTORNEYS OFFICE
10

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12
                                                    /s/
13
                                                 Kathleen Servatius
                                                 Attorney for United States
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17
                                               ORDER
                                                ­­­­­
18

19
            IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18
20
     U.S.C.§3161 (h)(7)(A) and (B)
21
     DATED: March 15, 2010               /s/ Lawrence J. O’Neill
22                                       LAWRENCE J. O’NEILL, Senior Judge
                                         United States District Court
23

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25



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                                Stipulation to Continue Sentencing Hearing
